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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-cv-00389-DCN

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, ifany) Four SquareBiz, LLC

was received by me on (date) 09/28/2022

C1 I personally served the summons on the individual at (place)

on (date)

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

of | served the summons on (name of individual) Four SquareBiz, LLC c/o Kelsey Flemming , who is
designated by law to accept service of process on behalf of (name of organization) Registered Agents Inc

30 N Gould St Ste R, Sheridan, WY 82801 on (date) ——_—09/29/2022° > Or

1 I returned the summons unexecuted because : or

O Other (specify):

My fees are $ 0.00 for travel and $ 99.00

for services, for a total of $ 99.00

I declare under penalty of perjury that this information is true.

Date: 09/29/2022 _ i thea

¥
Server's signature

Dustin Looper, Process Server _
Printed name and title

101 E Loucks St, Unit 6384
Sheridan, WY 82801

Server's address

Additional information regarding attempted service, etc:
Additional Documents separ s P

Complaint; and Exhibit A through C

9/29/22 @ 1:09pm

An individual identified as Kelsey Flemming, clerk for Registered Agents Inc, reviewed the agent's records and
confirmed she was able to accept the service packet on behalf of Four SquareBiz LLC. She willing accepted the
documents. (w, f, 30's, 5'8", 180lbs, blnd)
